    Case 19-00561-JMM            Doc 99 Filed 08/18/22 Entered 08/18/22 10:44:06                     Desc Ch.13
                                  Voluntary Dismissal Orde Page 1 of 1
                                   UNITED STATES BANKRUPTCY COURT

                                               DISTRICT OF IDAHO


In Re:                                                      )
                                                            )
Jason S. Monroe                                             )    Case Number:      19−00561−JMM
1125 E Locust Ln                                            )
Nampa, ID 83686                                             )    Chapter Number: 13
                                                            )
Social Security No.: xxx−xx−5542                            )
Employer's Tax I.D. No.:                                    )
                                                            )
                        Debtor                              )
                                                            )
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                                              ORDER OF DISMISSAL


The debtor(s) having made a motion that the above entitled case be dismissed pursuant to 11 U.S.C. 1307 (b)

AND NO HEARING on the motion being required, this case is HEREBY DISMISSED on 8/18/22 .

Creditors are notified that they will receive no future payments from the trustee and may look to the debtor(s) directly
for payment of their claims.

The Court reserves jurisdiction to receive and pass upon final account and report in this case and to make orders with
respect thereto.




                                                                 Stephen W Kenyon
Dated: 8/18/22                                                   Clerk, U.S. Bankruptcy Court
